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                                          March 10, 2021                       DENIE




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Via ECF
The Honorable Phyllis J. Hamilton
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United States District Court                                                 hyllis J.
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Northern District of California




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Oakland Courthouse




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1301 Clay Street, Third Floor, Courtroom 3                                                      C
Oakland, CA 94612                                                         N                 F
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       Re:     Nicolas v. Uber Technologies, Inc., No. 4:19-cv-08228-PJH
               Requesting Leave to File Amicus Brief

Dear Judge Hamilton,

       The undersigned organizations respectfully request leave to file the attached Brief of
Amici Curiae in response to Defendant Uber Technologies, Inc.’s Motion to Dismiss (“Motion”).
ECF Dkt. No. 46. Together the organizations and/or their members represent thousands of
rideshare drivers, and advocate for the advancement of rights of drivers and workers in
California. A statement of Amici’s interests is set forth in the proposed brief.

        On March 9, 2021, Amici asked the parties whether they would consent to this filing.
Plaintiff Jericho Nicolas and Defendant Uber Technologies, Inc. (“Uber”) both responded that
they consent to the filing, with Uber stating that it intends to file a response to Amici’s brief.

        Amici intend their brief to be useful to the Court’s consideration of a specific issue raised
by Uber’s Motion, namely the purported retroactivity of Proposition 22. Uber addressed this
issue at length in its Motion and Reply, but Plaintiffs provided the Court with less than two pages
of briefing on this critical question. ECF Dkt. 47 (Opp’n at pp. 11-13). Amici’s brief does not
“initiate, create, extend, or enlarge the issues” raised by Uber’s Motion, but addresses this critical
issue in order to assist the Court in its analysis of Uber’s argument. See In re Dynamic Random
Access Memory (DRAM) Antitrust Litig., No. M 02-1486 PJH, 2007 WL 2022026, at *1 (N.D.
Cal. July 9, 2007), citing Miller-Wohl Co., v. Comm’r. of Labor and Indus. of Mont., 694 F.2d
203, 204 (9th Cir.1982). The Court’s statements at the hearing on the Motion, as reported in the
press, suggest the Court recognizes the significance of Uber’s position on the claims of
thousands of drivers covered by Prop 22. See https://www.law360.com/employment-
authority/articles/1359226/calif-voters-clearly-against-uber-drivers-suit-judge-says.

        Whether to allow an amicus brief “is solely within the Court’s discretion, and generally
courts have ‘exercised great liberality in permitting amicus briefs.” California by & through
Becerra v. United States Dep’t of the Interior, 381 F. Supp. 3d 1153, 1163–64 (N.D. Cal. 2019),
citing Woodfin Suite Hotels, LLC v. City of Emeryville, No. C 06-1254 SBA, 2007 WL 81911, at
*3 (N.D. Cal. Jan. 9, 2007). “The ‘classic role’ of amicus curiae is to assist a court in a case of
public interest by ‘supplementing the efforts of counsel, and drawing the court’s attention to law
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that escaped consideration.’” California by & through Becerra v. United States Dep’t of the
Interior, 381 F. Supp. 3d at 1163.

       The undersigned recognizes that amicus briefs in district court proceedings should be
reserved for exceptional circumstances. However, we respectfully submit that the pending
motion presents an issue of first impression, that the Court’s resolution of the issue will be
widely referenced in numerous other proceedings, and that the Court may benefit from the
additional citations and arguments including in the proposed brief.

        For the foregoing reasons, we respectfully request the Court’s permission to file the
enclosed amicus brief. In the alternative, we request a pre­motion conference with the Court for
leave to file such a brief.


                                              Respectfully submitted,

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                                              ASSOCIATION

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Enclosure
